Case 2:1O-cV-02482-SHI\/|-ch Document 16 Filed 03/10/11 Page 1 of 2 Page|D 167

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT ()F TENNESSEE
WESTERN DIVISION

 

JOHN L. BULLOCK,

Plaintiff,
Case No. 2:10-cv-02482-SHM-cgc
v.

WORLD SAVINGS BANK, FSB,

WACHOVIA MORTGAGE, MARY C. REEDER,
THE CITY OF MEMPHIS, PAMELA POPE
JOHNSON, MELISSA PALO,

\./\/VV\./VVVVVVV

Defendants.

 

DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AS TO PLAINTIFF'S
PETITION FOR ACTION TO QUIET TITLE

 

COME NOW Defendants World Savings Bank, FSB, Wachovia Mortgage (properly
referred to as Wachovia Mortgage FSB, the successor to World Savings Bank, FSB) and Mary
C. Reeder (collectively, “Defendants”), by and through their undersigned counsel, and pursuant
to Rule 56 of the Federal Rules of Civil Procedure submit this Motion for Summary Judgment as
to Plaintiffs Petition for Action to Quiet Title.

As grounds for this Motion, Defendants state that Plaintiff has failed to respond to
Defendants' First Set of Requests for Admissions ("Requests") to Plaintiff. Therefore, pursuant
to Rule 36, all matters in the Requests are admitted, and no genuine issues of material facts
remain in dispute Accordingly, pursuant to Rule 56 of the Federal Rules of Civil Procedure,
Defendants are entitled to a judgment as a matter of law on Plaintiffs Petition for Action to Quiet

Title.‘ In support of this Motion, Defendants rely upon their Memorandum of Law in Support of

 

‘ By submitting this Motion for Summary Judgment, Defendants do not abandon their previously filed

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Case 2:1O-cV-O2482-SHI\/|-ch Document 16 Filed 03/10/11 Page 2 of 2 Page|D 168

their Motion for Summary Judgment, Defendants’ Staternent of Undisputed Material Facts, and

the entire record before this Court.

Respectfully submitted,

BAKER, DONELSON, BEARMAN,
CALDWELL & BERKOWITZ, P.C.

s/ Robert F. Tom

Robert F. Tom (BPR #26636)

Laura P. Menitt (BPR#26482)

First Tennessee Building

165 Madison Avenue, Suite 2000
Memphis, TN 38103

Telephone: 901 .526.2000

Facsimile: 901.577.2303
rtom@bakerdonelson.corn
lmerritt@bakerdonelson.com

Attorneys for Defendants World Savings
Bank, FSB, Wachovz`a Mortgage and Mary
C. Reeder

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 10th day of March, 2011, a true and exact
copy of the foregoing Was Hled using the CM/ECF system and served upon the following by
first-class U.S. mail, postage pre-paid:

John L. Bullock
3336 Durford Wood Cove
Memphis, Tennessee 3 8128

s/ Robert F. Tom

 

Motion to Dismiss. To the contrary, Defendants are entitled to judgment in their favor based on the arguments in
the Motion to Dismiss, and to the extent necessary, incorporate those arguments in this Motion for Summary
Judgment.

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